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 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF OHIO
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                                                       :
 UNITED STATES OF AMERICA,                             :   Case. No. 5:15-CR-000339
                                                       :
          Plaintiff,                                   :
                                                       :
 v.                                                    :   OPINION & ORDER
                                                       :   [Resolving Docs. 425 and 427]
 FREDERICK COLEMAN,                                    :
                                                       :
          Defendant.                                   :
                                                       :
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 JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

          Defendant Fredrick Coleman moves for a bill of particulars and for discovery.1 The

 Government opposes both motions.2 For the reasons below, this Court DENIES Defendant’s

 motions for a bill of particulars and for discovery.

                                     I.       Background

          On October 14, 2015, the United States filed a superseding indictment (the “Indictment”)

 against Defendant Coleman.3 The Indictment charges Coleman with conspiracy to distribute

 cocaine and heroin.

          Defendant Coleman says that the Indictment fails to adequately describe the time, place,

 nature, and reason for the drug conspiracy charge.4 He requests that the Government provide

 additional detail and also provide additional information the Government collects in the future.

 The Government responds that the Indictment describes the overall conspiracy and the

 Defendant’s specific conduct in more-than-adequate detail.5




 1
   Docs. 425 and 427.
 2
   Docs. 430 and 431.
 3
   Doc. 62.
 4
   Doc. 425.
 5
   Doc. 430.
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          The Defendant also requests discovery pursuant to Rule 16 of the Federal Rules of Criminal

 Procedure.6 The Government responds that the Government has already provided discovery.7

                                     II.      Analysis

     A. Defendant’s Motion for a Bill of Particulars

          “The decision to order a bill of particulars is within the sound discretion of the trial

 court.”8 In determining whether to grant request for a bill of particulars, the Court asks whether

 the indictment is sufficiently specific that a bill of particulars is unnecessary. 9

          A bill of particulars is unnecessary in this case because the indictment is sufficiently

 specific. The Indictment informs the Defendant of the offense,10 timing,11 and specific conduct.12

 Using this information, Defendant Coleman can determine the “key factual information . . . so as

 to enable [him] to prepare a defense and avoid surprise at trial.”13

          Defendant Coleman says that that he cannot “reasonably know the time, place, and nature

 and cause of the charges against him” but he does not explain why this is the case.14 This

 argument loses because the indictment includes these details, making a bill of particulars

 unnecessary.

          Therefore, this Court denies the motion for a bill of particulars.




 6
   Doc. 427.
 7
   Doc. 431.
 8
   United States v. Salisbury, 983 F.2d 1369, 1375 (6th Cir. 1993)
 9
   See United States v. Ridley, 199 F. Supp. 2d 704, 707–08 (S.D. Ohio 2001) (denying the defendant's motion for a
 bill of particulars where the defendant's motion inappropriately sought a “detailed description of the Government's
 proof against him”); see also United States v. Carter, No. 96–5435, 1997 WL 528465, at *1–2 (6th Cir. Aug. 26,
 1997), cert. denied, 522 U.S. 1083 (1998).
 10
    Doc. 62 at 5.
 11
    Id. at 10-11
 12
    Id.
 13
    United States v. Page, 575 F.App’x 641, 642 (6th Cir. 2014) citing United States v. Salisbury, 983 F.2d 1369,
 1375 (6th Cir. 1993).
 14
    Doc. 425at 3.
                                                          2
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        B. Defendant’s Motion for Discovery

            Defendant Coleman also filed a motion requesting general discovery under Rule 16 of the

 Federal Rules of Criminal Procedure.15 The record indicates that the Government complied with

 discovery and Defendant Coleman does not allege otherwise.16 Accordingly, an order for

 discovery would be redundant. As a result, the Defendant’s motion is denied.

                                  III.   Conclusion

            For the reasons above, the Court DENIES Defendant’s motions for a bill of particulars and

 for discovery.

            IT IS SO ORDERED.




 Dated: August 9, 2016                                  s/   James S. Gwin
                                                        JAMES S. GWIN
                                                        UNITED STATES DISTRICT JUDGE




 15
      Doc. 427.
 16
      Doc. 431.
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